                           UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF TENNESSEE
                                NASHVILLE DIVISION


UNITED STATES OF AMERICA                     )
                                             )
v.                                           )             NO. 3:13-00097
                                             )             JUDGE SHARP
MICHAEL CHAD CORLEY [9]                      )


                                        ORDER

       Pending before the Court is Defendant’s First Motion to Continue Sentencing Hearing

(Docket No. 830).

       The motion is GRANTED and the sentencing hearing scheduled for January 28, 2015, is

hereby continued to Monday, March 30, 2015, at 1:30 p.m.

       It is so ORDERED.




                                          KEVIN H. SHARP
                                          UNITED STATES DISTRICT JUDGE




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